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                           IN THE UNITED STATES DISTRICT COURT
                          FOR THE WESTERN DISTRICT OF ARKANSAS
                                     WESTERN DIVISION

KELLY E. COPELIN, and his wife,
SARA COPELIN

                  Plaintiffs

       Vs.                                                    Case No. 5:21-cv-05049-PKH

UNITED STATES OF AMERICA,

                  Defendant



                               COMPLAINT FOR MEDICAL NEGLIGENCE



        The plaintiffs, Kelly E. Copelin and his wife, Sara Copelin (collectively the “Plaintiffs”),

 states as follows for their cause of action against the defendant, United States of America

 (“Defendant”):

                                   PARTIES AND JURISDICTION

        1.        The Plaintiffs are adult resident citizens of Gravette, Benton County, Arkansas.

        2.        The Plaintiffs were married on or about November 18, 2017, and have remained

 legally married to the present.

        3.     The Defendant operated the VA Medical Center – Fayetteville (“VAMC”), by and

 through the Department of Veteran’s Affairs (“VA”), at all-time relevant to this litigation.

        4.        Robert M. Levy, MD (“Dr. Levy”), Carol A. Fossey, MD (“Dr. Fossey”), Randall

 B. Davis, MD (“Dr. Davis”), Dr. Minh-Tri D. Dang (“Dr. Dang”), Paul R. Hendrycy, MD (“Dr.


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Hendrycy”) and Laverne R. Blackwell, MD (“Dr. Blackwell”), among others, provided medical

care to Kelly E. Copelin (sometime referred to individually as the “Patient”) during and after his

admission to the VMAC on or about June 22, 2015 to present.

        5.    Upon information and belief, Drs. Levy, Fossey, Davis and Blackwell were

employed by the Defendant and acting within the course and scope of their employment and/or

agency at all time relevant to this litigation.

Dr. Levy provided diagnostic services to the Patient at the VMAC on or about June 22, 2015

during the course and scope of his employment and/or agency with the Defendant. Upon

information and belief, at all times herein mentioned, the Defendant held Dr. Levy out to the

public in general and to the Patient in particular as possessing the necessary medical skills,

knowledge and expertise to provide professional pathology services to the Patient on or about

June 22, 2015, in accordance with the recognized standard of acceptable professional practice of

similarly situated physicians in Fayetteville, Arkansas and similar communities.

        6.      This cause of action arises in tort and as a result of harms and losses proximately

caused by the negligence of the Defendant in Fayetteville, Washington County, Arkansas, and

comes under 28 U.S.C. § 1346(b), 2401 and 2671-2680.

        7.      This is a proper venue for litigation of all issues in controversy

        8.      This Court has jurisdiction over the parties.

        9.      This Court has jurisdiction over the subject matter as it involves a federal question

under the Federal Tort Claims Act, 28 U.S.C. § 1346.

        10.     An administrative claim alleging medical malpractice was properly presented to

the Department of Veteran’s Affairs. See Standard Form 95-F (Exhibit 1).

        11.     To date, the Department of Veteran’s Affairs has not formally responded to the

Plaintiffs’ claim, either admitting or denying the claim.

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       12.     The Patient is electing to proceed as if the claim had been formally denied by the

Department of Veteran’s Affairs pursuant to 28 U.S.C. § 2675(a).

                                  FACTUAL BACKGROUND

       13.     On or about June 22, 2015, the Patient was seen at the VAMC in Fayetteville,

Arkansas, with a new complaint of soreness in his right neck area which developed shortly before

he was seen by his primary care physician, Dr. Fossey.

       14.     The VAMC medical records state that Dr. Fossey examined the Patient and

diagnosed his condition as a right anterior neck mass.

       15.     Dr. Fossey scheduled a CT scan.

       16.     The VAMC medical records show that a contrast enhanced CT scan of the neck

was performed on July 29, 2015, and the findings provided by Dr. Blackwell, a radiologist,

indicate that there was a “[h]eterogenous enhancing tumor mass arising from the right

submandibular gland.     Lymphadenopathy along the right side of the neck medial and

posteroinferior to the sternocleidomastoid muscle measuring up to 1.9 cm.” The primary

diagnostic code was suspicious for new malignancy with a need for follow-up.

       17.     The VAMC ENT consult notes show that on August 5, 2015, Dr. Davis, an

otolaryngologist, examined the Patient and noted “CT imaging report of the heterogeneous right

submandibular gland mass but none was palpated. Lymphadenopathy present and palpable in

the right posterior neck. Of greatest concern to Mr. Copeland [sic] is the more superficial neck

mass. I recommended that we proceed with a fine-needle biopsy of this mass. He agrees.”

       18.     A fine-needle biopsy was performed on August 5, 2015, by Dr. Davis and the

specimen was sent to pathology.

       19.     The tissue sample from the August 5, 2015 fine-needle biopsy was examined by

Dr. Levy on or about August 7, 2015. Dr. Levy’s noted a mixed lymphocytic population and


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further comment that the “[f]indings are most compatible with a reactive lymphadenopathy;

however, clinical correlation is indicated to determine if further sampling is required.”

       20.     Upon information and belief, Dr. Levy was chemically impaired when he

misinterpreted the fine-needle biopsy on or about August 7, 2015, and failed to properly diagnose

the Patient’s squamous cell carcinoma.

       21.     On August 11, 2015, Dr. Davis noted that he called the Patient with the results of

the fine-needle aspirate cytology. “The cytology report indicates that this was a mixed population

of lymphocytes consistent with a reactive lymph node. As there are other lymph nodes present

in the right neck, I need to re-examine [the Patient] for the source of the ongoing infection.” Dr.

Davis also noted that the Patient told him that he does have problems with his sinuses, and that

he would need to examine the Patient’s nasopharynx. Dr. Davis asked that the Patient return to

see him at some point in the near future.

       22.     On September 16, 2015, the Patient was seen by Dr. Davis who noted that he

could not detect an abnormality in the right submandibular gland on the neck CT scan nor could

he clinically palpate any abnormality in the gland. Dr. Davis contacted Dr. Blackwell who then

consulted with Dr. Dang, a radiologist, who stated that the submandibular gland appeared normal

to him but that the lymphadenopathy in the neck appeared unusual and discussed the fact that

sarcoidosis might have something to do with that.

       23.     Dr. Davis asked the Patient to monitor the lymphadenopathy in his right neck and

return if he noticed any enlargement or the development of new nodules.

       24.     The VAMC medical records note that on August 6, 2016, the Patient notified his

primary care team that the right side of his neck had swollen areas as before but larger. An

appointment was scheduled with his primary care physician for August 25, 2016.

       25.     On August 25, 2016, the Patient was seen by Dr. Fossey who assessed the Patient


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with a recurrence of right facial tenderness and swelling and requested an ENT evaluation.

       26.     On September 7, 2016, the Patient was seen by Dr. Davis with a chief complaint

of swelling and pain of right neck. Dr. Davis noted “There was a right pharyngeal mass that is

distorting the soft tissues of the oropharynx with swelling in the area of the right faucial arches

and the palatine tonsil. A flexible fiberoptic endoscopy was done and there does not appear to

be any surface lesion. So that it would appear that this mass is submucosal. It seems to be

centered on the right tonsil area. I reviewed the CT scan that was done last year and this area of

interest is obscured by artifact from the fillings in the teeth. There is also lymphadenopathy in

the right neck. He has tenderness of the right temporomandibular joint. I discussed this with Mr.

Copelin. I told him that there is a mass effect in the right neck. I also told him that I could not

see any visible tumor at this time. We need to get a CT scan of the neck and determine the best

way to further evaluate this mass. I repeated the ballottement of the submandibular gland and I

cannot feel a right submandibular gland mass.”

       27.     Dr. Davis’ plan was to proceed with a CT scan of the neck for evaluation of the

right pharyngeal mass in the area of the right palatine tonsil.

       28.     On September 14, 2016, a CT scan of the neck was performed on the Patient and

the findings provided by Dr. Dang stated “Right tonsillar 3.5 cm enlarging mass with possible

extension into the surrounding structures. Right level I, level II, level III, level V

lymphadenopathy.      Suggestion of additional contralateral left level II lymph adenopathy.

Malignancy such as squamous cell carcinoma is a high concern. Recommend tissue correlation

as clinically indicated.”

       29.     VAMC medical records state that on September 20, 2016, Dr. Davis contacted the

Patient to discuss the CT scan of the neck. A fine-needle aspiration of the right tonsil was

recommended to which the Patient was agreeable.


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       30.     On September 27, 2016, Dr. Davis performed a fine-needle biopsy of the right

palatine tonsil mass which was then sent to pathology.

       31.     Dr. Hendrycy reviewed tissue slides from the September 27, 2016 fine-needle

biopsy on September 29, 2016, noted “[f]ine needle aspiration of right palatine tonsillar mass;

thin prep cytology, cytology smears and cell block studies: Consistent with nonkeratinizing

squamous cell carcinoma.”

       32.     On October 4, 2016, Dr. Davis discussed the results of the fine-needle aspiration

with the Patient. Dr. Davis stated that the fine-needle biopsy showed the presence of squamous

cell carcinoma and that it appeared as though the patient had carcinoma that spread beyond the

tonsil into the surrounding tissue consistent with a T3N2bM0 squamous cell carcinoma of the

right tonsil. Treatment was discussed and Dr. Davis recommended an oncology consult to Dr.

Mohiuddin through Veterans Health Care System of the Ozarks.

       33.     Per VAMC medical records, on May 16, 2018, Dr. Hendrycy issued a modified

report to change the original August 7, 2015, pathology diagnosis of the right posterior, fine-

needle aspiration of the right posterior neck lymph node, cytology smears, and thin prep cytology

which was performed by Levy.          Levy’s original diagnosis stated “mixed lymphocytic

population.” Dr. Hendrycy’s modified report states “Modified diagnosis: Percutaneous needle

aspiration of right posterior neck lymph node, cytology smears and thin prep cytology:

Suspicious for squamous cell carcinoma. VHSO Comment: Dr. Hendrycy has reviewed this case

and believes the slides are diagnostic for a non small cell carcinoma, probably metastatic

squamous cell carcinoma to a lymph node. Issuance of this modified report was discussed with

Dr. Randall Davis on 05/16/18.”

       34.     The Patient’s cancer spread as a direct and proximate result of Dr. Levy’s

negligent review of the samples taken during the original August 7, 2015 fine-needle aspiration


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 and failure to properly and timely diagnose the squamous cell carcinoma.

        35.     As a direct and proximate result of Dr. Levy’s negligence, the Patient lost less

 invasive and harmful treatment options resulting in harms and losses that would not have

 otherwise occurred but for Dr. Levy’s negligence.

        36.     During his hospitalizations and treatments, the Patient underwent radiation and

 chemotherapy which caused him to suffer immensely as the direct and proximate result of the

 Defendant’s negligence.

        37.     The Patient’s injuries are permanent.

                                       CAUSE OF ACTION

        38.     The Defendant was negligent in the following respects:

        a.      By negligently and carelessly failing to properly diagnose the Patient’s the

                Patient’s squamous cell carcinoma in a timely manner;

        b.      By failing to have and use that degree of learning and skill ordinarily possessed

                by other physicians and hospital staff; and

        c.      By deviating from the recognized standard of acceptable professional practice for

                similarly situated physicians, nurses and hospital staff in Fayetteville, Washington

                County, Arkansas and/or similar communities.

        39.     The Defendant VAMC is vicariously liable for the acts and/or omissions of its

 employees, servants and agents including, but not limited to, Dr. Levy and other members of its

 medical, nursing and hospital staff who provided professional service to the Patient.

                                      HARMS AND LOSSES

       40.    As a direct and proximate cause of the Defendant’s negligence, the Patient suffered

serious and permanent physical, mental and emotional injuries.

        41.   The Patient is entitled to compensation for the harms and losses he suffered as a


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 result of the Defendant’s negligence, including but not necessarily limited to, the following:

         a.      The cost of medical care, services and supplies reasonably required and actually

                 given in the treatment of the Patient as shown by the evidence, and the present

                 cash value of similar services likely to be required in the future;

         b.      The present cash value of lost earning capacity that is likely to be lost in the future

                 as a result of the injuries in question;

         c.      The physical pain and suffering, physical and mental discomfort suffered by the

                 Patient, and the present cash value for pain and suffering likely to be experienced

                 in the future, including anguish, grief, shame and worry;

         d.      Permanent injuries the Patient must live with for the rest of his life that are likely

                 to result in inconvenience and/or the loss of physical vigor;

         e.      Impairment to the Patient’s appearance;

         f.      Loss of the normal enjoyments and pleasures of life in the future as well as

                 limitations on the Patient’s lifestyle resulting from the injury; and

         g.      Other damages allowed by law.

         42.     Sara Copelin is entitled to recover such damages as from the evidence would fairly

 compensate her for the reasonable value of the loss of services, society, compantionship, and

 marriage relationship of her husband proximately caused by the negligence of Dr. Levy.

        WHEREFORE, premises considered, the Plaintiffs sue the Defendant for compensatory

damages in the amount of Seven Million Five Hundred Thousand Dollars ($7,500,000.00), for costs

herein, and for all such other and further relief, general and specific, legal and equitable, to which

the Patient is entitled by law.




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                                            Respectfully submitted:

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